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1                                 IN THE UNITED STATES DISTRICT COURT
2

3                           FOR THE SOUTHERN DISTRICT OF NEW YORK

4    JASON GOODMAN                                     Case No.: 1:21-cv-10878-AT-JLC
5                    Plaintiff,
6
     vs.                                               REQUEST FOR JUDICIAL NOTICE OF
                                                       FACTS RELATED TO SERVICE OF
7                                                      PROCESS UPON ADAM SHARP AND
     CHRISTOPHER ELLIS BOUZY, BOT
8    SENTINEL, INC, GEORGE WEBB                        FOR AN EVIDENTIARY HEARING ON
     SWEIGERT, DAVID GEORGE SWEIGERT,                  RELATED EVIDENCE
9
     BENJAMIN WITTES, NINA JANKOWICZ,
10   ADAM SHARP, MARGARET ESQUENET,
     THE ACADEMY OF TELEVISION ARTS
11   AND SCIENCES, SETH BERLIN,
     MAXWELL MISHKIN
12
                     Defendants
13

14
              Pro Se plaintiff Jason Goodman (“Goodman”) respectfully submits this request for
15

16
     judicial notice of relevant facts and an oral argument hearing on the evidence. Goodman alleges

17   as follows, upon actual knowledge with respect to himself and his own acts, and upon
18   information and belief as to all other matters.
19
                                      DELIBERATE UNDUE DELAY
20
           1. Refusal to Meet and Confer
21

22
           At approximately 1:30pm on or about January 23, 2023, Goodman sent an email to defendant

23   Margaret Esquenet (“Esquenet”) seeking a waiver of service requested for Esquenet, Adam
24   Sharp (“Sharp”) and ATAS (“ATAS”). (EXHIBIT A)
25

26

27
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1       Goodman received no response to the email. The following day, January 24, 2023, Goodman
2
     sent another email, informing Esquenet, “You have ignored my most recent emails” and included
3
     the amended complaint (ECF No. 100) and a request for waiver of service. (EXHIBIT B)
4
        Esquenet responded to the second message, stating only, “Receipt confirmed” but providing
5

6    no information about her decision with regard to the waiver. Goodman responded only a few

7    minutes later, politely asking “Please sign and return it or indicate if you are refusing waiver of
8
     service.” Esquenet responded nearly a day later at 10:25pm saying only, “As the document you
9
     provided indicates, now that you have provided the waiver request, we have 30 days to accept or
10
     reject the request. We are discussing the matter with our clients will revert in due course.”
11

12      2. Ghost Writing Pleadings for Pro Se Defendant David George Sweigert

13      On or about March 1, 2023, defendant David George Sweigert (“Sweigert”) filed a NOTICE
14
     OF DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE IN OPPOSITION TO MOTIONS
15
     TO DISMISS (ECF No 143). This filing is notable because it contains a dramatically larger
16
     number of case law citations than any previous filing Sweigert has made since 2017. The filing
17

18   is also notable because it goes to great lengths to defend Sharp and oddly, non-party the National

19   Academy of Television Arts and Sciences (“NATAS”). The pleading conspicuously does not
20
     mention ATAS, the actual named defendant in this matter. This is particularly notable because
21
     Esquenet defended NATAS and Sharp in a contentious prior case against Goodman. Sharp is the
22
     CEO of NATAS and Goodman alleges Sharp illegally utilized tax exempt NATAS funds to sue
23

24   Goodman for an ulterior and improper purpose. An appeal of that case is pending in the Second

25   Circuit Court (Docket #: 22-592cv). Sharp is CEO of NATAS, but NATAS has not been sued in
26
     this matter. These outstanding and highly unusual aspects of Sweigert’s pleading, as well as past
27
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1    behavior by the collective parties, and additional evidence of ongoing racketeering activity,
2
     cause Goodman to allege that Esquenet and her associates at Finnegan, Henderson, Farabow,
3
     Garret & Dunner, LLP (“Finnegan”) ghost wrote the pleading on Sweigert’s behalf in an effort
4
     unjustly affect the outcome of this case and to avoid hiring counsel or filing a notice of
5

6    appearance on her own behalf.

7       3. Ongoing and Continuous Violation of Local Civil Rule 37.3
8
        Upon seeing Sweigert’s suspicious pleading, Goodman sent Esquenet an email stating, “Stop
9
     writing pleadings for Sweigert and respond to the waiver it's been more than 30 days.” Esquenet
10
     responded two days later, informing Goodman, “As you have not requested/obtained a summons
11

12   from the court for Mr. Sharp, Academy of Television Arts & Sciences, or me, there is no

13   summons to waive. If and when you provide the three summonses, we can act on your request.”
14
        On March 3, 2023, Goodman submitted three requests for subpoenas (ECF Nos. 149, 150,
15
     151). Goodman received the signed subpoenas shortly thereafter and on March 13, 2023,
16
     Goodman sent Esquenet an email including the three subpoenas, and the request for a waiver of
17

18   service. (EXHIBIT C)

19      After approximately eleven days, there was no response. This could be construed as a direct
20
     deception by Esquenet who had previously indicated the only barrier to response was the
21
     provision of appropriately issued summonses. Goodman sent another email saying only, “Please
22
     act on this request as promised” directly citing the commitment Esquenet had made in her
23

24   previous message. There was still no response. Having approximately three years of experience

25   with Esquenet, Sharp and their various co-conspirators, Goodman is now aware of a long-
26
     established pattern of deception. Goodman decided he had exhausted all available good faith
27
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1    steps. Left with no other option, Goodman hired process servers to end the undue delay and
2
     serve the parties with the appropriate summonses. On April 3, 2023, defendant Sharp was served
3
     at his home. (EXHIBIT D)
4
        An attempt was made to serve Esquenet, however the process server was confused when he
5

6    arrived at Finnegan’s Washington DC office building because no suite number was provided.

7    Prior to the Washington DC process server’s second attempt to serve Esquenet, and in apparent
8
     response to the service upon Sharp, Mary Ann Brennan (“Brennan”) one of Esquenet’s
9
     associates at Finnegan who is suspected of assisting Sweigert in ghost wringing pleadings, filed a
10
     notice of appearance (ECF No. 173) and the appropriate waivers. No process server had yet
11

12   been hired to serve ATAS in Los Angeles at the time of the filing of the waivers.

13      The defendants’ behavior in this instance does not meet the Local Civil Rule 37.3
14
     requirement that parties make a good faith effort to resolve non-dispositive pretrial disputes
15
     without involving the court. This is only the latest egregious example of defendants’ ongoing
16
     outrageous efforts to take unfair advantage of a far less sophisticated, far less experienced pro se
17

18   litigant, rather than rely on the law and the facts. This is precisely what these defendants have

19   endeavored to do since the genesis of this and all other mutual disputes. Because they seek to
20
     achieve an ulterior goal, good faith negotiation with Goodman or reasonable approach to a
21
     settlement is simply incompatible with the end Esquenet and her co-conspirators hope to achieve.
22
                                               CONCLUSION
23

24          When evaluating RICO claims, courts weigh the likelihood of ongoing harm due to a

25   pattern of racketeering activity versus the possibility of a coincident, unrelated collection of
26
     common business torts. Even if the Court finds Goodman’s current RICO pleadings inadequate,
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1    defendants’ ongoing pattern of related racketeering activity continues to harm Goodman and has
2
     even increased its harm as this case has proceeded. Goodman respectfully requests the Court
3
     issue an order requiring defendants to reimburse Goodman for fees associated with hiring
4
     process servers due to their failure to cooperate in good faith and grant an appropriate waiver
5

6    when requested and to further summon the parties for an evidentiary hearing to review relevant

7    evidence under oath along with any other relief the Court finds appropriate.
8

9
     Signed this 6th day of April 2023
10
     Respectfully submitted,
11

12                                    ____________________________________________________
                                                               Jason Goodman, Plaintiff, Pro Se
13                                                                       252 7th Avenue Apt 6s
                                                                         New York, NY 10001
14
                                                                                (323) 744-7594
15                                                               truth@crowdsourcethetruth.org

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28   UPON ADAM SHARP AND FOR AN EVIDENTIARY HEARING ON RELATED
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                           (EXHIBIT A)
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                           (EXHIBIT B)
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                           (EXHIBIT C)
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                           (EXHIBIT D)
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